     Case 2:13-cr-00096-RHW             ECF No. 1013        filed 05/12/16      PageID.3461 Page 1 of 2
PROB 12C                                                                                Report Date: May 10, 2016
(7/93)
                                                                                                         FILED IN THE
                                       United States District Court                                  U.S. DISTRICT COURT
                                                                                               EASTERN DISTRICT OF WASHINGTON


                                                       for the
                                                                                                May 12, 2016
                                                                                                    SEAN F. MCAVOY, CLERK
                                        Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Christopher Scott Bouck                  Case Number: 2:13CR00096-RHW-6
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Robert H. Whaley, Senior U.S. District Judge
 Date of Original Sentence: February 6, 2014
 Original Offense:        Conspiracy to Commit Bank Fraud, 18 U.S.C. § 1349
 Original Sentence:       Prison 24 months                  Type of Supervision: Supervised Release
                          TSR - 36 months
 Asst. U.S. Attorney:     Aine Ahmed                        Date Supervision Commenced: March 4, 2016
 Defense Attorney:        Federal Defenders Office          Date Supervision Expires: March 3, 2019

                                         PETITIONING THE COURT

                To issue a warrant.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

           1            Special Condition # 20: You shall abstain from the use of illegal controlled substances, and
                        shall submit to testing (which may include urinalysis or sweat patch), as directed by the
                        supervising officer, but no more than six tests per month, in order to confirm continued
                        abstinence from these substances.

                        Supporting Evidence: Mr. Bouck violated his conditions of supervised release in Spokane,
                        Washington, on or about April, 29, 2016, by using methamphetamine. Mr. Bouck reported
                        to U.S. Probation on or about April, 29, 2016, and submitted a urine sample that was sent
                        to Alere Toxicology for further testing. Mr. Bouck signed a drug use admission form
                        admitting to methamphetamine use on or about April 26, 2016. On May 6, 2016, the
                        toxicology report was received from Alere Toxicology showing a positive result for
                        methamphetamine in reference to the urine sample taken on April 29, 2016

           2            Special Condition # 19: You shall undergo a substance abuse evaluation and, if indicated
                        by a licensed/certified treatment provider, enter into and successfully complete an approved
                        substance abuse treatment program, which could include inpatient treatment and aftercare.
                        You shall contribute to the cost of treatment according to your ability to pay. You shall
                        allow full reciprocal disclosure between the supervising officer and treatment provider.

                        Supporting Evidence: Mr. Bouck violated his conditions of supervised release in Spokane,
                        Washington, on or about May 9, 2016, for failing to attend a substance abuse intake
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                      appointment at Alcohol Drug Education Prevention Treatment (ADEPT). The undersigned
                      officer received notification from ADEPT staff on May 9, 2016, that Mr. Bouck did not
                      attend his intake appointment.
          3           Special Condition # 20: You shall abstain from the use of illegal controlled substances, and
                      shall submit to testing (which may include urinalysis or sweat patch), as directed by the
                      supervising officer, but no more than six tests per month, in order to confirm continued
                      abstinence from these substances.

                      Supporting Evidence: Mr. Bouck violated his conditions of supervised release in Spokane,
                      Washington, by failing to provide a random urinalysis test at ADEPT, on or about May 5,
                      2016. The undersigned officer received notification on May 6, 2016, that Mr. Bouck failed
                      to appear for a random urinalysis test at ADEPT on May 5, 2016. Staff at ADEPT advised
                      the undersigned officer that Mr. Bouck’s father had called and advised that Mr. Bouck was
                      in the hospital. On May 6, 2016, the undersigned officer called the hospitals located in
                      Spokane, Washington, and was informed they have no record of Mr. Bouck being a patient.
                      On May 9, 2016, the undersigned officer was able to contact Mr. Bouck’s father, who
                      advised the undersigned that he did not call ADEPT and notify them of Mr. Bouck’s
                      hospitalization, and was not aware Mr. Bouck went to the hospital on or about May 5, 2016.
          4           Standard Condition # 2: The defendant shall report to the probation officer in a manner and
                      frequency directed by the court or probation officer.

                      Supporting Evidence: Mr. Bouck violated his conditions of supervised release in Spokane,
                      Washington, on or about May 9, 2016, by failing to report to the probation officer in a
                      manner and frequency directed by the court or probation officer. At this time, Mr. Bouck
                      has not reported and submitted a truthful and complete written report to U.S. Probation as
                      directed, within the first 5 days of each month.

The U.S. Probation Office respectfully recommends the Court issue a warrant for the arrest of the offender to
answer the allegations contained in this petition.
                                         I declare under penalty of perjury that the foregoing is true and correct.
                                                           Executed on:     05/10/2016
                                                                            s/Corey M. McCain
                                                                            Corey M. McCain
                                                                            U.S. Probation Officer

 THE COURT ORDERS

 [ ]      No Action
 [9 ]     The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ ]      Other
                                                                            Signature of Judicial Officer

                                                                               .BZ 
                                                                            Date
